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12   Charles Lu, and Nathan McCarty
13
14                               UNITED STATES DISTRICT COURT

15                            NORTHERN DISTRICT OF CALIFORNIA

16
17   TEMUJIN LABS INC., a Delaware                  CASE NO. 4:21-cv-09152-JST
     corporation, and TEMUJIN LABS INC., a
18   Cayman Islands corporation                     DECLARATION OF EDWARD HAN IN
                                                    SUPPORT OF DEFENDANTS’ MOTION
19                     Plaintiffs,                  TO DISMISS COMPLAINT, OR IN THE
                                                    ALTERNATIVE, TO STAY CASE
20          vs.

21   TRANSLUCENCE RESEARCH, INC., a                 Date:         May 5, 2022
     Delaware corporation, BENJAMIN FISCH,          Time:         2:00 p.m.
22   CHARLES LU, BENEDIKT BÜNZ,                     Courtroom:    Courtroom 6 - 2nd Floor
     NATHAN MCCARTY, FERNANDO                       Judge:        Hon. Jon S. Tigar
23   KRELL, PHILIPPE CAMACHO CORTINA,
     BINYI CHEN, AND LUOYUAN (ALEX)                 Complaint Filed:   November 24, 2021
24   XIONG, and DOES 1-20,

25                     Defendants.

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                                                              DECL. OF E. HAN ISO MTD, OR IN THE
                                                                          ALTERNATIVE, TO STAY
                                                                       CASE NO. 4:21-CV-09152-JST
       Case 4:21-cv-09152-JST Document 26-2 Filed 03/18/22 Page 2 of 3



 1          I, Edward Han, declare as follows:
 2          1.      I am an attorney duly admitted to practice before this Court. I am an attorney with
 3   the law firm of Paul Hastings LLP, counsel of record for Defendants Translucence Research, Inc.,
 4   Benjamin Fisch, Charles Lu, and Nathan McCarty (collectively “Defendants”). I submit this
 5   declaration in support of Defendants Motion to Dismiss Plaintiffs’ Complaint, or in the
 6   Alternative, to Stay the Case, and in furtherance and accordance with Defendants’ Request for
 7   Judicial Notice of the exhibits identified and attached hereto. I have personal knowledge of the
 8   facts set forth in this declaration and, if called and sworn as a witness, could and would testify
 9   competently thereto under oath.
10          2.      Attached hereto as Exhibit A is a true and correct copy of the “Complaint for
11   Declaratory Relief, Civil Conspiracy, Tortious Interference, Breach of Contract, Trade Secret
12   Misappropriation under Cal. Civ. Code §§ 3426 et seq., Violation of Cal. Penal Code 502(C),
13   Conversion, Breach of Fiduciary Duty, and Damages and Injunctive Relief,” which was filed on
14   November 6, 2020 in Santa Clara County Superior Court in Temujin Labs, Inc. v. Abittan, et al.,
15   Case No. 20-CV-372622 (“State Court Action”).
16          3.      Attached hereto as Exhibit B is a true and correct copy of the “First Amended
17   Complaint for Declaratory Relief, Civil Conspiracy, Tortious Interference, Breach of Contract,
18   Trade Secret Misappropriation under Cal. Civ. Code §§ 3426 et seq., Violation of Cal. Penal
19   Code 502(C), Conversion, Breach of Fiduciary Duty, and Damages and Injunctive Relief,” which
20   was filed on January 21, 2022 in the State Court Action.
21          4.      Attached hereto as Exhibit C is a true and correct copy of the “Complaint for 1.
22   Trade Secret Misappropriation and Misuse under Cal. Civ. Code §§ 3426 et seq., 2. Trade Libel,
23   3. Intentional Interference with Contractual Relations, 4. Intentional Interference with Prospective
24   Economic Advantage, 5. Unfair Competition under Cal. Bus. & Prof. Code §§ 17200 et seq., 6.
25   Civil Conspiracy, 7. Declaratory Relief, Damages and Injunctive Relief,” which was filed on
26   November 19, 2021 in San Francisco County Superior Court in Temujin Labs, Inc., et al. v.
27   Translucence Research, Inc., et al., Case No. CGC-21-596745.
28          5.      Attached hereto as Exhibit D is a true and correct copy of “Defendant Temujin
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                                                                     DECL. OF E. HAN ISO MTD, OR IN THE
                                                                                 ALTERNATIVE, TO STAY
                                                                              CASE NO. 4:21-CV-09152-JST
       Case 4:21-cv-09152-JST Document 26-2 Filed 03/18/22 Page 3 of 3



 1   Labs Inc., a Cayman Corporation’s Opposition to Plaintiff’s Motion to Stay,” which was filed on
 2   January 26, 2022 in the United States District Court for the Northern District of California in
 3   Abittan v. Chao, et al., Case No. 5:20-cv-09340 (“Abittan Action”).
 4          6.      Attached hereto as Exhibit E is a true and correct copy of the “Updated Initial Joint
 5   Case Management Statement and Rule 26(f) Report; [Proposed] Order,” which was filed on
 6   February 2, 2022 in the Abittan Action.
 7          I declare under penalty of perjury under the laws of the United States of America that the
 8   foregoing is true and correct.
 9          Executed on this 18th day of March, 2022, at Palo Alto, California.
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11                                                                   /s/ Edward Han
                                                                     EDWARD HAN
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                                                                    DECL. OF E. HAN ISO MTD, OR IN THE
                                                                                ALTERNATIVE, TO STAY
                                                                             CASE NO. 4:21-CV-09152-JST
